Case 2:04-CV-02664-SHI\/|-tmp Document 44 Filed 06/01/05 Page 1 of 2 Page|D 51

IN THE UNITED STATES DISTRICT COURT HLUDLM'L&”“'RC'

FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUH
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pATRICE A_ BREWER' \MD.G#'N:M§MYHE

Plaintiff
Civil No. 04-2664 Ma/P
SYNOVUS FINANCIAL CORPORATION
d/b/a TRUST ONE BANK, OSCAR

MARIE MILLER and WANDA LYNN
LOCKHART,

Defendants.

 

ORDER GRANTING UNOPPOSED MOTION TO AMEND COMPLAINT

 

Before the Court is Plaintiff's Motion to Amend Complaint,
filed. May 27, 2005 (dkt #43). Plaintiff has indicated that
defendants do not Oppose the amendment. Pursuant to Federal Rule

cf Civil Procedure lB(a), the motion is therefore GRANTED.

’C;%\

TU M. PHAM
United States Magistrate Judge

IT IS SO ORDERED.

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Date

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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

